                                                             Case 9:17-bk-03731-FMD                          Doc 28 1 Filed 10/31/18
                                                                                                              FORM                                      Page 1 of 2
                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       1
                                                                                                 ASSET CASES
Case No:             17-03731       CED     Judge: Caryl E. Delano                                                                              Trustee Name:                     Robert E. Tardif Jr.
Case Name:           HEISTON, DARRELL ALLEN                                                                                                    Date Filed (f) or Converted (c):   04/28/17 (f)
                     HEISTON, DOROTHY                                                                                                          341(a) Meeting Date:               06/06/17
For Period Ending: 09/30/18                                                                                                                    Claims Bar Date:                   12/04/17



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. 2011 KIA RIO                                                                             2,250.00                               0.00                                                0.00                    FA
 2. HOUSEHOLD GOODS & FURNISHINGS                                                               500.00                              0.00                                                0.00                    FA
     2 sofas, tv stand, computer stand, kitchen table, dresser, hospital bed,
     ironing board, shark vaccuum
 3. 2 TV'S, DVD PLAYER                                                                           70.00                              0.00                                                0.00                    FA
 4. USED CLOTHING AND SHOES                                                                     200.00                              0.00                                                0.00                    FA
 5. 1 DOG                                                                                         1.00                              0.00                                                0.00                    FA
 6. DVD MOVIES 20 DVD'S                                                                          65.00                              0.00                                                0.00                    FA
 7. REGIONS * 2193 CHECKING                                                                      64.00                              0.00                                                0.00                    FA
 8. REGIONS * 5871 CHECKING                                                                      84.00                              0.00                                                0.00                    FA
 9. PERSONAL INJURY CLAIM (u)                                                                     0.00                        75,000.00                                                 0.00                         75,000.00

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                         $3,234.00                         $75,000.00                                                $0.00                      $75,000.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   August 29, 2017 (GAH) Motion to Reopen Case filed for undisclosed personal injury case.


   September 01, 2017 (RET) - Emailed attorney ATE affidavit of disinterestedness.


   March 05, 2018 (RET) - Filed Application to Employ Special Counsel on products liability claim. (Order entered 3/7/18)


   March 13, 2018 (RET) - Prepared motion to approve compromise.




LFORM1                                                                                                                                                                                                                           Ver: 20.02
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   March 29, 2018 (RET) - Filed motion to approve compromise. (WITHDRAWN 4/11/18)


   July 25, 2018 (RET) - Previous compromise was withdrawn as the settlement number must be confirmed after medical lien
   review. That review is still underway. Once the lien review is complete the Trustee anticipates refiling motion to
   approve compromise.


   Initial Projected Date of Final Report (TFR): 09/01/18           Current Projected Date of Final Report (TFR): 03/30/19


           /s/     Robert E. Tardif Jr.
   __________________________________________ Date: 10/31/18
           ROBERT E. TARDIF JR.




LFORM1                                                                                                                                                                                            Ver: 20.02
